         Case 5:15-cv-00769-DSF-AS Document 3 Filed 04/20/15 Page 1 of 2 Page ID #:16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Central District
                                                 __________  DistrictofofCalifornia
                                                                          __________

        David Weathersby and Julie Weathersby,                      )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 5:15-cv-00769
                                                                    )
   Empire Media Marketing, LLC, Empire Media                        )
  Marketing II, Asset Recovery Bureau, LLC, Asset
                                                                    )
      Research Bureau, and Tasha Gallagher,
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Empire Media Marketing, LLC, 40119 Murrieta Hot Springs Rd, A103, Murrieta, CA
                                       92563, Empire Media Marketing II, 31566 Railroad Canyon Road, #602, Canyon Lake,
                                       CA 92587 and/or 361 Railroad Canyon Rd, #B Lake Elsinore, CA 92532, Asset
                                       Recovery Bureau, LLC, 26810 Ynez Rd, #C, Temecula, CA 92591 and/or 2105
                                       Esperanza Dr, Concord, CA 94519, Asset Research Bureau, 26810 Ynez Rd, #C,
                                       Temecula, CA 92591 and/or 31566 Railroad Canyon Rd, #602, Canyon Lake, CA
                                       92587, Tasha Gallagher, Address currently unknown.

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Law Offices of Barak Berlin, Barak J. Berlin
                                       27349 Jefferson Ave, Suite 208
                                       Temecula, CA 92590




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
          Case 5:15-cv-00769-DSF-AS Document 3 Filed 04/20/15 Page 2 of 2 Page ID #:17

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
